                                                                               Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 1 of 9



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                                                   UNITED STATES DISTRICT COURT
                                                                          5
                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                          6
                                                                          7                                      )
                                                                                                                 )
                                                                          8   GABE BEAUPERTHUY, et al. on behalf )        No. 06-00715 SC
                                                                              of themselves and all others       )
                                                                          9   similarly situated,                )
                                                                                                                 )        ORDER GRANTING IN
                                                                         10             Plaintiffs,              )        PART AND DENYING IN
                                                                                                                 )        PART PLAINTIFFS'
                               For the Northern District of California




                                                                         11       v.                             )        MOTION FOR LEAVE TO
United States District Court




                                                                                                                 )        COMPEL SUPPLEMENTAL
                                                                         12                                      )        PRODUCTION OF NAMES
                                                                                                                 )        AND ADDRESSES FOR
                                                                         13   24 HOUR FITNESS USA, INC., a       )        FACILITATED NOTICE
                                                                              California corporation d/b/a 24    )
                                                                         14   Hour Fitness; SPORT AND FITNESS    )
                                                                              CLUBS OF AMERICA, INC., a          )
                                                                         15   California corporation d/b/a 24    )
                                                                              Hour Fitness,                      )
                                                                         16                                      )
                                                                                                                 )
                                                                         17             Defendants.              )
                                                                                                                 )
                                                                         18                                      )
                                                                         19
                                                                         20   I.   INTRODUCTION
                                                                         21        Plaintiffs Gabe Beauperthuy, et al., ("Plaintiffs") have
                                                                         22   filed a Motion to Compel Supplemental Production of Names and
                                                                         23   Addresses for Facilitated Notice ("Motion to Compel").           See Docket
                                                                         24   No. 176.   Plaintiffs seek to compel Defendants 24 Hour Fitness
                                                                         25   USA, Inc., and Sport and Fitness Clubs of America, Inc.
                                                                         26   (collectively "Defendants" or "24 Hour Fitness"), to produce
                                                                         27   additional names and addresses for facilitated notice pursuant to
                                                                         28   the Court's Opt-In Order.     Defendants filed an Opposition and
                                                                               Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 2 of 9



                                                                          1   Plaintiffs filed a Reply.     See Docket Nos. 179, 182.
                                                                          2         After reviewing the parties' submissions, the Court hereby
                                                                          3   GRANTS IN PART and DENIES IN PART Plaintiffs' motion.
                                                                          4
                                                                          5   II.   BACKGROUND
                                                                          6         The facts of this case are exhaustively documented in
                                                                          7   previous orders and filings.      See, e.g., Order Granting in Part
                                                                          8   and Denying in Part Pls.' Mot. for Facilitated Notice ("Order for
                                                                          9   Facilitated Notice"), March 6, 2007, Docket No. 124; Opt-In Order,
                                                                         10   May 9, 2007, Docket No. 145; Order Granting in Part and Denying in
                               For the Northern District of California




                                                                         11   Part Pls.' Mot. for Leave to File Mot. to Compel ("Order Granting
United States District Court




                                                                         12   Leave"), August 28, 2007, Docket No. 174.        The Court assumes the
                                                                         13   parties' familiarity with the case and only discusses those facts
                                                                         14   relevant to the issues now before the Court.
                                                                         15         On August 28, 2007, the Court issued an Order Granting in
                                                                         16   Part and Denying in Part Plaintiffs Leave to File a Motion to
                                                                         17   Compel Supplemental Production of Names and Addresses for
                                                                         18   Facilitated Notice ("Order Granting Leave").         Docket No. 174.
                                                                         19   Pursuant to this Order, Plaintiffs have filed the Motion to
                                                                         20   Compel.
                                                                         21
                                                                         22   III. DISCUSSION
                                                                         23         In the Motion to Compel, Plaintiffs seek the following
                                                                         24   relief:   (1) an order compelling supplemental production of the
                                                                         25   names of all persons employed by 24 Hour Fitness outside of
                                                                         26   California between December 31, 1998, and the date that Defendants
                                                                         27   were required to produce the list of names; (2) an order that
                                                                         28                                        2
                                                                               Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 3 of 9



                                                                          1   Defendants use their Payroll Department, rather than their Human
                                                                          2   Resources Department, to generate the list of persons included in
                                                                          3   the Opt-In Notice; (3) an order to show cause why certain persons
                                                                          4   identified by Plaintiffs should not be included by Defendants on
                                                                          5   the list of individuals to whom notice is to be sent; and (4) an
                                                                          6   order that Defendants fully answer certain questions put forward
                                                                          7   in a letter sent July 11, 2007, from Richard Donahoo, counsel for
                                                                          8   Plaintiffs, to Lisa Chagala, Counsel for Defendants.             The Court
                                                                          9   addresses each in turn.
                                                                         10        A.     Supplemental Production of Names
                               For the Northern District of California




                                                                         11        Plaintiffs assert that Defendants have provided a list of
United States District Court




                                                                         12   names that excludes certain job titles that should have been
                                                                         13   included and that Defendants have misinterpretted both the
                                                                         14   definition of the class of employees covered under the Opt-In
                                                                         15   Order and the dates for the Claims Period as defined in the same
                                                                         16   Order.    Mot. to Compel at ii.
                                                                         17               1.     Definition of Class Members
                                                                         18        To begin, there appears to be some confusion regarding the
                                                                         19   definition of the class members.         On March 6, 2007, the Court
                                                                         20   conditionally certified a FLSA collective class consisting of
                                                                         21   persons who worked for 24 Hour Fitness as a General Manager,
                                                                         22   Operations Manager or Fitness Manager in states outside
                                                                         23   California.      Order for Facilitated Notice at 19.     Subsequently, on
                                                                         24   May 9, 2007, the Court issued an Opt-In Order.         Docket No. 145.
                                                                         25   In this Order, the collective class was defined as "all persons
                                                                         26   who work or have worked for 24 Hour Fitness in any state in the
                                                                         27   United States, except California . . . in any managerial position
                                                                         28                                        3
                                                                                Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 4 of 9



                                                                          1    classified by 24 Fitness as exempt from overtime requirements."
                                                                          2    Opt-In Order at 2.
                                                                          3            In case the language of the Opt-In Order appeared to create a
                                                                          4    larger class of eligible employees than the language of the March
                                                                          5    6 Order, it did not.     The relevant class is still General
                                                                          6    Managers, Fitness Managers and Operations Managers.1             In both the
                                                                          7    initial Complaint and the Motion to Certify the Class, Plaintiffs
                                                                          8    themselves stated that the proposed class consisted of General
                                                                          9    Managers, Fitness Managers and Operations Managers.          See Compl. at
                                                                         10    2, Docket No. 1; Mot. to Certify Class at ii, Docket No. 69.
                               For the Northern District of California




                                                                         11    Thus, there should be no confusion regarding the definition of the
United States District Court




                                                                         12    collective class.
                                                                         13                 2.   Opt-In Period
                                                                         14            On May 9, 2007, the Court issued the Opt-In Order, which
                                                                         15    allowed the Plaintiffs' claims to proceed as a collective action
                                                                         16    under section 16(b) of the Fair Labor Standards Act ("FLSA"), 29
                                                                         17    U.S.C. § 216(b).    See Opt-In Order at 2.      In this Order, the Court
                                                                         18    stated that the Claims Period was "during the time period between
                                                                         19    December 31, 1998, and the present . . . ."         Id.   The parties now
                                                                         20    dispute what was meant by "the present."
                                                                         21            In the Opt-In Order, the Court stated that Defendants would
                                                                         22    produce to Plaintiffs a list of the names and addresses of all the
                                                                         23    current and former employees of Defendants who qualified under the
                                                                         24    conditional collective class.      Id.   This list was to be produced
                                                                         25    within sixty (60) days from the date of the Order.          Id.     The Order
                                                                         26
                                                                                   1
                                                                                      Both parties agree that the conditionally certified class
                                                                         27   is limited to club-level jobs. Defs.' Opp'n at 11.
                                                                         28                                         4
                                                                               Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 5 of 9



                                                                          1   was issued on May 9, 2007.      Id. at 5.    Plaintiffs argue that the
                                                                          2   claims period therefore ended on July 9, 2007, sixty (60) days
                                                                          3   from date of the Order.     See Mot. to Compel at 9.       Defendants
                                                                          4   assert that the claims period terminated on May 9, 2007, when the
                                                                          5   Order was issued.
                                                                          6        The Opt-in Order created a claims period that included
                                                                          7   employees of the relevant class who were working for Defendants at
                                                                          8   the time that the list was to be produced.        Thus, the claims
                                                                          9   period terminated July 9, 2007.      Had the Court intended the claims
                                                                         10   period to terminate on May 9, 2007, it would have so stated.
                               For the Northern District of California




                                                                         11        B.   Method of Collecting Names and Addresses
United States District Court




                                                                         12        Plaintiffs assert that the method used by Defendants to
                                                                         13   gather the names and addresses of relevant employees was flawed.
                                                                         14   Mot. to Compel at 6.     Specifically, Plaintiffs argue that because
                                                                         15   Defendants used their Human Resources department rather than the
                                                                         16   Payroll department to generate the list of employees for the opt-
                                                                         17   in notice, employees who should have been included on the list
                                                                         18   were left off.   Id. at 8.
                                                                         19        One of the primary issues regarding the collective class is
                                                                         20   whether employees who were labeled as managers were in fact
                                                                         21   treated as exempt pursuant to the FLSA.        It appears that the most
                                                                         22   reliable method for determining whether an employee was in fact
                                                                         23   treated, i.e. paid, as exempt would be examining how that employee
                                                                         24   was labeled by the Payroll Department.        This inference is
                                                                         25   supported by evidence put forth by Plaintiffs.         In particular,
                                                                         26   Plaintiffs have presented evidence that it is possible for an
                                                                         27   employee to be paid as an exempt employee by the Payroll
                                                                         28                                        5
                                                                               Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 6 of 9



                                                                          1   Department but be listed as a non-exempt employee in the Human
                                                                          2   Resources database.    See Mot. to Compel at 8.
                                                                          3        Defendants counter that "Defendants' payroll system receives
                                                                          4   data from the human resources information system.          Accordingly,
                                                                          5   searching the payroll system is superfluous."         Opp'n at 16.   It is
                                                                          6   unclear from this argument, however, exactly what information is
                                                                          7   shared between the two departments.       The only information relevant
                                                                          8   to the case at hand is whether an employee's status as exempt
                                                                          9   under the FLSA is the same in both the Payroll Department and the
                                                                         10   Human Resources Department.      Plaintiffs have presented evidence
                               For the Northern District of California




                                                                         11   that this may not always be the case.        If this is in fact correct,
United States District Court




                                                                         12   some employees who are eligible to receive the opt-in notice will
                                                                         13   be left out.   Given that the most compelling argument Defendants
                                                                         14   raise against using records from Payroll is that it would be
                                                                         15   "superfluous," the Court hereby orders Defendants to cross-check
                                                                         16   persons included in the Opt-In Order with the records contained in
                                                                         17   Defendants' Payroll Department.
                                                                         18        C.   Order to Show Cause Why Certain Persons Identified by
                                                                         19             Plaintiffs Should Not Be Included on the Opt-In List
                                                                         20        Plaintiffs move the Court to issue an Order to Show Cause why
                                                                         21   the names of certain employees who have recently contacted
                                                                         22   Plaintiffs' counsel and who are allegedly eligible to receive the
                                                                         23   Opt-In Notice were nonetheless not included by Defendants on the
                                                                         24   list provided to the Claims Administrator.        Mot. to Compel at 6.
                                                                         25   In light of the clarifications contained in this Order regarding
                                                                         26   the definition of the class and of the Claims Period, an Order to
                                                                         27   Show Cause does not appear necessary.        The Court is confident that
                                                                         28                                        6
                                                                               Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 7 of 9



                                                                          1   Defendants will now fully comply with its obligations and provide
                                                                          2   Plaintiffs and the Claims Administrator a complete list of
                                                                          3   employees who qualify for the conditional class during the Claims
                                                                          4   Period.
                                                                          5        D.    Answer to Questions from July 7, 2007, Letter
                                                                          6        Plaintiffs seek an order compelling Defendants to fully
                                                                          7   respond to questions 3 and 5 from a letter sent July 11, 2007,
                                                                          8   from Richard Donahoo, counsel for Plaintiffs, to Lisa Chagala,
                                                                          9   Counsel for Defendants.     Included in the information sought by
                                                                         10   Plaintiffs through these questions is a list of job descriptions
                               For the Northern District of California




                                                                         11   for a number of managerial positions at 24 Hour Fitness.         See Mot.
United States District Court




                                                                         12   to Compel at 10.    Defendants, in response, state that "Defendants
                                                                         13   did the best they could under the circumstances but were unable to
                                                                         14   obtain job descriptions for all 187 job titles by September 5[,
                                                                         15   2007]."   Opp'n at 9.    Part of the reason for the delay,
                                                                         16   apparently, was the fact that "Defendants' primary in-house
                                                                         17   contact was on vacation until September 5, and one of Defendants'
                                                                         18   counsel was on vacation until September 10."         Id.
                                                                         19        The Court reminds Defendants that an Order was already issued
                                                                         20   by the Court to answer these questions.        See Order Granting Leave
                                                                         21   at 7 ("Defendants shall provide written answers to Questions 1, 3,
                                                                         22   5, 6, and 8 in the July 11, 2007, letter . . .") (emphasis added).
                                                                         23   There was nothing ambiguous in this previous Order.          Defendants,
                                                                         24   for the second time, are ordered to fully answer these questions
                                                                         25   and provide a full list of the requested job descriptions.
                                                                         26        D.    Meet and Confer
                                                                         27        In the latest salvo of briefs filed with the Court each party
                                                                         28                                        7
                                                                                Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 8 of 9



                                                                          1    accuses the other of failing to meet and confer.          See, e.g., Pls.'
                                                                          2    Mot. to Compel at iv (stating that Defendants have not been
                                                                          3    willing "to fully respond to Plaintiffs' attempts to meet and
                                                                          4    confer . . ."); Defs.' Opp'n at 10 (stating "Plaintiffs failed to
                                                                          5    fully participate in the meet and confer process").          The Court
                                                                          6    reminds both parties that familiarity with, and adherence to, the
                                                                          7    Civil Local Rules is not optional.        The Court admonishes both
                                                                          8    parties to reread Civil Local Rule 1-5(n).        In particular, the
                                                                          9    Court notes for the parties that Rule 1-5(n) states:
                                                                         10                   'Meet and confer' or 'confer' means to
                                                                                              communicate directly . . . . The mere
                               For the Northern District of California




                                                                         11                   sending of a written, electronic, or
United States District Court




                                                                                              voice-mail communication . . . does not
                                                                         12                   satisfy a requirement to 'meet and
                                                                                              confer' or to 'confer.'     Rather, this
                                                                         13                   requirement can be satisfied only through
                                                                                              direct dialogue and discussion . . . .
                                                                         14
                                                                         15    Civil L. R. 1-5(n) (emphasis added).        The parties' full
                                                                         16    understanding of the definition of 'meet and confer' is suspect.2
                                                                         17    With Rule 1-5(n) in mind, the Court orders both parties to
                                                                         18    continue to meet and confer.
                                                                         19              E.   Special Master
                                                                         20              Finally, Defendants have requested that the Court appoint a
                                                                         21    Special Master to oversee discovery and other disputes.          Opp'n at
                                                                         22    17.       Plaintiffs oppose this request.   Reply at 9.    The Defendants'
                                                                         23    request for a Special Master is DENIED.
                                                                         24
                                                                                     2
                                                                                      The Court notes, for example, than in the Defendants'
                                                                         25   Opposition, they document their own efforts to meet and confer by
                                                                              providing a list of fourteen (14) exchanges with Plaintiffs. As
                                                                         26   should be clear from the above-cited definition, however, at least
                                                                              six of these exchanges were not direct communications and are not,
                                                                         27   therefore, examples of meeting and conferring.
                                                                         28                                          8
                                                                               Case 3:06-cv-00715-SC Document 185 Filed 10/12/07 Page 9 of 9



                                                                          1   IV.   CONCLUSION
                                                                          2         For the foregoing reasons, Plaintiffs' motion for an order
                                                                          3   compelling supplemental production of the names of all persons
                                                                          4   employed outside of California between December 31, 1998, and July
                                                                          5   9, 2007, is GRANTED.     Plaintiffs' motion for an order that
                                                                          6   Defendants use their Payroll Department, rather than their Human
                                                                          7   Resources Department, to generate the list of persons included in
                                                                          8   the Opt-In notice is also GRANTED.       Plaintiffs' motion for an
                                                                          9   order to show cause why certain persons identified by Plaintiffs
                                                                         10   should not be included by Defendants on the list of individuals to
                               For the Northern District of California




                                                                         11   whom notice is to be sent is DENIED.       Plaintiffs motion for an
United States District Court




                                                                         12   order that Defendants fully answer certain questions put forward
                                                                         13   in the letter sent July 11, 2007, from Richard Donahoo, counsel
                                                                         14   for Plaintiffs, to Lisa Chagala, Counsel for Defendants is
                                                                         15   GRANTED.   Finally, Defendants' request that the Court appoint a
                                                                         16   Special Master is DENIED.
                                                                         17
                                                                         18
                                                                         19         IT IS SO ORDERED.
                                                                         20
                                                                         21         Dated:   October 12, 2007.
                                                                         22
                                                                         23
                                                                                                                 UNITED STATES DISTRICT JUDGE
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28                                        9
